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                          IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF KANSAS                                          '. . . , i i   >   "   t

BENTLEY J. PARKER                            )      Case No.   -.ali'" -CV-Zleo2    ::.JA12.i.fJilJJ :.
                                             )
       Plaintiff,                            )                                     8r"7~.;;:fJtPlJtY
                                                                                    '" .,}j.N >il.: ,-.1 T'\'. K;>
                                             )      COMPLAINT, REQUEST FOR
v.                                           )      JURY TRIAL, AND REQUEST FOR                                   .
                                             )      VENUE
KYLE RAILROAD COMPANY,                       )
a Kansas corporation,                        )
                                             )
       Defendant.                            )

                                          COMPLAINT

       COMES NOW Plaintiff Bentley J. Parker, by and through his attorneys

hereinafter identified, and for his cause of action against Defendant Kyle Railroad

Company, states and alleges as follows:


                             DESIGNATION OF PLACE OF TRIAL

       Plaintiff hereby designates the Federal Court in Kansas City, Kansas as the

place of Trial.


                                 JURISDICTION AND VENUE

       1.         This action is brought pursuant to the Federal Employers' Liability Act

(FELA), 45 U.S.C. § 51, et seq., and the Federal Locomotive Inspection Act (L1A),

formerly the 'Boiler Inspection Act,' 49 U.S.C. § 20701, et seq. and Plaintiff invokes this

Court's jurisdiction pursuant to these statutes. Venue is proper in this district pursuant

to 45 U.S.C. §56.
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                                          PARTIES

       2.     At the time of the events giving rise to this action, and at all times relevant

hereto, Plaintiff was and is a resident and citizen of Republic, Republic County, Kansas.

       3.     At the time of the events giving rise to this action and at all times relevant

hereto, Defendant Kyle Railroad Company (hereinafter "Kyle Railroad") was and is a

Kansas corporation with its principal place of business in Phillipsburg, Phillips County,

Kansas, authorized and doing business as a railroad in Kansas, Nebraska and

Colorado as a common carrier in interstate commerce.

       4.     Plaintiff, at all times relevant, was employed by Defendant Kyle Railroad in

furtherance of its activities in interstate commerce and, at all times material, acted within

the course and scope of his employment for Kyle Railroad.


                 NEGLIGENCE LIABILITY PURSUANT TO FEDERAL
                         EMPLOYERS' LIABILITY ACT

       5.     On December 4, 2005, Plaintiff was working as a conductor on a CEFX-

9345 locomotive. At approximately 9:45 p.m. while working near Scandia, Kansas,

Plaintiff was walking on the walkway from the lead unit to the second unit of the

aforementioned train when he slipped and fell on hazardous snow and ice conditions

present on the walkway. Plaintiff fell approximately twenty five feet causing permanent

injury to his back including but not limited to a compression fracture of his vertebra.

       6.     At the time and place described above, Defendant Kyle Railroad by and

through its agents, servants and employees, was negligent in violation of the Federal

Employers' Liability Act, 45 U.SC. § 51, et seq., in failing to provide Plaintiff a safe place

to work, and in failing to provide Plaintiff safe tools and equipment.




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       7.     As a result of the negligence of Defendant Kyle Railroad, Plaintiff suffered

severe and permanent injuries to his back-injuries which have required extensive

medical care and treatment. As a result of these injuries, Plaintiff has incurred net lost

wages to date in the approximate amount of $6,840.00 and medical expenses of

approximately $1,500.00. Furthermore, Plaintiff has suffered, now suffers and in the

future will continue to suffer pain and suffering, both physical and mental, and disability.


             STRICT LIABILITY PURSUANT TO FEDERAL LOCOMOTIVE
                             INSPECTION ACT ILIA)

       Plaintiff incorporates paragraphs 1-7.

       8.     At the time and place described above, Defendant Kyle Railroad used or

permitted to be used on its line a locomotive in violation of one or more provisions of the

Locomotive Inspection Act (L1A) , formerly the 'Boiler Inspection Act,' codified at 49

U.S.C. § 20701, et seq., and by effect of the same, Defendant is strictly liable for

Plaintiff's injuries and damages.

       9.     As a result Defendant's violations of the Locomotive Inspection Act,

Plaintiff suffered severe and permanent injuries to his back-injuries which have

required extensive medical care and treatment. As a result of these injuries, Plaintiff

has incurred net lost wages to date in the approximate amount of $6,840.00 and

medical expenses of approximately $1 ,500.00. Furthermore, Plaintiff has suffered, now

suffers and in the future will continue to suffer pain and suffering, both physical and

mental, and disability.




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                                             JURY DEMAND

         Plaintiff requests trial by jury.

         WHEREFORE, Plaintiff Bentley J. Parker prays for a jury trial of the foregoing

issues and for judgment against Defendant Kyle Railroad Company in his favor on all

the above theories of liability for his present calculable special damages of $8,340.00

for any and all general damages allowed by law and for the cost of this action.

         Dated this   ~y of December, 2008.




                                                and

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